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           In the United States Court of Federal Claims
                                           No. 22-201C
                                      (Filed: March 8, 2022)

***************************************
WILLIAM F. KAETZ,                     *
                                      *               Pro se plaintiff; sua sponte dismissal for lack
                  Plaintiff,          *               of jurisdiction; breach of a plea agreement;
                                      *               breach of implied contract; contract implied-
v.                                    *               in-law; privity; constitutional violations;
                                      *               Administrative Procedure Act; injunctive
THE UNITED STATES,                    *               relief; application to proceed in forma
                                      *               pauperis
                  Defendant.          *
***************************************

William F. Kaetz, Paramus, NJ, pro se.

Christopher L. Harlow, United States Department of Justice, Washington, DC, for defendant.

                                    OPINION AND ORDER

SWEENEY, Senior Judge

        Plaintiff William F. Kaetz, proceeding pro se, filed suit in this court on February 22,
2022, alleging that the United States and its “collaborators” breached his plea agreement by not
considering his home detention to be part of his term of imprisonment and by failing to return his
property. Plaintiff also filed an application to proceed in forma pauperis. For the reasons stated
below, the court grants that application, but dismisses plaintiff’s complaint for lack of
jurisdiction.

                                       I. BACKGROUND

        Plaintiff was arrested and entered pretrial detention on October 18, 2020. 1 The following
summer, he reached an agreement with the United States Attorney for the Western District of
Pennsylvania to enter a guilty plea to one of the charges he faced. As part of that plea
agreement, plaintiff and the United States Attorney stipulated that the “appropriate sentence” for
plaintiff included “a term of imprisonment of 16 months” and “a term of supervised release of
three years, with the condition that the first six months of supervised release be served in home
detention[.]” Compl. Ex. 1c. The plea agreement did not include any provision indicating that a
damages remedy was available for a breach of the agreement. Moreover, the plea agreement

       1
          The facts in this section are derived from plaintiff’s complaint and the exhibits attached
to the complaint.
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included a provision indicating that it “set[] forth the full and complete terms and conditions of
the agreement between William Kaetz and the United States Attorney for the Western District of
Pennsylvania, and there are no other agreements, promises, terms or conditions, express or
implied.” Compl. Ex. 1d.

        On August 2, 2021, the United States District Court for the Western District of
Pennsylvania entered a criminal judgment against plaintiff that adopted the stipulated terms of
imprisonment and supervised release. The judgment also provided instructions for the
disposition of property seized from plaintiff, including a firearm, ammunition, and electronic
devices.

        Plaintiff has been released from prison, and is now serving the first six months of his
term of supervised release in home detention. Believing that his home detention is improper, and
asserting that he cannot run his business due to the restrictions of home detention and the
government’s failure to return his property and computer data, plaintiff filed suit in this court.

         In his complaint, plaintiff asserts that the United States and its “collaborators”––the
United States Department of Justice, the United States Marshals Service, an employee of the
office of the United States Attorney for the Western District of Pennsylvania, the United States
Probation Office and two pretrial services officers, the Allegheny County Jail and its warden, the
Northeast Ohio Corrections Center and its warden, his criminal defense attorney, two federal
judges (erroneously identified as employees of the United States Department of Justice), the
Federal Bureau of Prisons, the Designation and Sentence Computation Center and two of its
employees, and BI Incorporated (the supplier of his GPS ankle bracelet)––breached the plea
agreement. He further asserts that all of the named defendants breached implied contracts to
uphold the United States Constitution (“Constitution”) and perform the duties arising from the
oath of office, employment agreements, and contractual obligations. More particularly, plaintiff
alleges that under the United States Sentencing Guidelines, home detention may only be imposed
as a substitute for imprisonment, and that his reasonable understanding, at the time he agreed to
plead guilty, was that the six months of home detention was included within the sixteen-month
term of imprisonment. Accordingly, he contends that his current home detention is a breach of
contract and amounts to false imprisonment. He also contends that his home detention and the
failure to return his property are breaches of contract that deprived him of his rights under the
Fourth, Fifth, Eighth, Thirteenth, and Fourteenth Amendments to the Constitution.

        Plaintiff seeks two forms of relief for the alleged breaches of contract. First, he requests
$5000 for each month of his home detention for loss of income, $2000 for each day of his home
detention for the loss of liberty, and $500 for each day of his home detention for the negligent
and intentional infliction of emotional distress. Second, he requests an injunction under the
Administrative Procedure Act directing the United States to adhere to the terms of his plea
agreement and make the terms of future plea agreements clear with respect to home detention
and the return of property.

      Because the court clearly lacks jurisdiction to entertain plaintiff’s claims, it dismisses the
complaint without awaiting a response from the United States.



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                                        II. DISCUSSION

                 A. Jurisdiction in the United States Court of Federal Claims

         Whether a court has jurisdiction to decide the merits of a case is a threshold matter. See
Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94-95 (1998). “Without jurisdiction the
court cannot proceed at all in any cause. Jurisdiction is power to declare the law, and when it
ceases to exist, the only function remaining to the court is that of announcing the fact and
dismissing the cause.” Ex parte McCardle, 74 U.S. (7 Wall.) 506, 514 (1868). “The objection
that a federal court lacks subject-matter jurisdiction may be raised by a party, or by a court on its
own initiative, at any stage in the litigation, even after trial and the entry of judgment.” Arbaugh
v. Y & H Corp., 546 U.S. 500, 506 (2006) (citation omitted); accord Hertz Corp. v. Friend, 559
U.S. 77, 94 (2010) (“Courts have an independent obligation to determine whether subject-matter
jurisdiction exists, even when no party challenges it.”); see also Ruhrgas AG v. Marathon Oil
Co., 526 U.S. 574, 583 (1999) (“[A] federal court [must] satisfy itself of its jurisdiction over the
subject matter before it considers the merits of a case.”). If the court finds that it lacks subject
matter jurisdiction over a claim, Rule 12(h)(3) of the Rules of the United States Court of Federal
Claims (“RCFC”) requires the court to dismiss that claim.

        When considering whether to dismiss a complaint for lack of jurisdiction, a court
assumes that the allegations in the complaint are true and construes those allegations in the
plaintiff’s favor. Henke v. United States, 60 F.3d 795, 797 (Fed. Cir. 1995). The complaint of
an individual proceeding pro se, “‘however inartfully pleaded,’ must be held to ‘less stringent
standards than formal pleadings drafted by lawyers’ . . . .” Hughes v. Rowe, 449 U.S. 5, 10 n.7
(1980) (quoting Haines v. Kerner, 404 U.S. 519, 520-21 (1972)). However, such a plaintiff is
not excused from meeting basic jurisdictional requirements. See Henke, 60 F.3d at 799 (“The
fact that [the plaintiff] acted pro se in the drafting of his complaint may explain its ambiguities,
but it does not excuse its failures, if such there be.”). In other words, a plaintiff proceeding pro
se is not excused from his burden of proving, by a preponderance of the evidence, that the court
possesses jurisdiction. See McNutt v. Gen. Motors Acceptance Corp., 298 U.S. 178, 189 (1936);
Reynolds v. Army & Air Force Exch. Serv., 846 F.2d 746, 748 (Fed. Cir. 1988).

        The ability of the United States Court of Federal Claims (“Court of Federal Claims”) to
entertain suits against the United States is limited. “The United States, as sovereign, is immune
from suit save as it consents to be sued.” United States v. Sherwood, 312 U.S. 584, 586 (1941).
The waiver of immunity “cannot be implied but must be unequivocally expressed.” United
States v. King, 395 U.S. 1, 4 (1969).

        The Tucker Act, the principal statute governing the jurisdiction of the Court of Federal
Claims, waives sovereign immunity for claims against the United States, not sounding in tort,
that are founded upon the United States Constitution, a federal statute or regulation, or an
express or implied contract with the United States. 2 28 U.S.C. § 1491(a)(1). However, the


       2
         In both the caption and the body of his complaint, plaintiff invokes the Tucker Act and
the Administrative Procedure Act as bases for this court’s jurisdiction over his claims. The
caption of his complaint also includes citations to 28 U.S.C. § 1331 and 28 U.S.C. § 1332, which
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Tucker Act is merely a jurisdictional statute and “does not create any substantive right
enforceable against the United States for money damages.” United States v. Testan, 424 U.S.
392, 398 (1976). Instead, the substantive right must appear in another source of law, such as a
“money-mandating constitutional provision, statute or regulation that has been violated, or an
express or implied contract with the United States.” Loveladies Harbor, Inc. v. United States, 27
F.3d 1545, 1554 (Fed. Cir. 1994) (en banc).

                      B. The United States Is the Only Proper Defendant

        As an initial matter, the court addresses plaintiff’s claims against the entities and
individuals identified by plaintiff as “collaborators.” It is well settled that the United States is
the only proper defendant in the Court of Federal Claims. See 28 U.S.C. § 1491(a)(1) (providing
that the Court of Federal Claims has jurisdiction over claims against the United States); RCFC
10(a) (requiring that the United States be designated as the defendant in the Court of Federal
Claims); Stephenson v. United States, 58 Fed. Cl. 186, 190 (2003) (“[T]he only proper defendant
for any matter before this court is the United States, not its officers, nor any other individual.”).
The court will consider the claims asserted against federal agencies to be claims against the
United States. However, the court does not possess jurisdiction to hear claims against individual
federal government officials. See Brown v. United States, 105 F.3d 621, 624 (Fed. Cir. 1997)
(“The Tucker Act grants the Court of Federal Claims jurisdiction over suits against the United
States, not against individual federal officials.”). It also lacks jurisdiction to entertain claims
against state agencies and state officials. See Treviño v. United States, 557 F. App’x 995, 998
(Fed. Cir. 2014) (unpublished decision) (affirming the Court of Federal Claims’ decision that it
did not possess jurisdiction over claims against “states, localities, state and local government
officials, state courts, state prisons, or state employees”). Nor does it have jurisdiction to hear
claims between private parties. See Nat’l City Bank of Evansville v. United States, 163 F. Supp.
846, 852 (Ct. Cl. 1958) (“It is well established that the jurisdiction of this court extends only to
claims against the United States, and obviously a controversy between private parties could not
be entertained.” (footnotes omitted)). Indeed, the jurisdiction of the Court of Federal Claims “is
confined to the rendition of money judgments in suits brought for that relief against the United
States, . . . and if the relief sought is against others than the United States, the suit as to them
must be ignored as beyond the jurisdiction of the court.” Sherwood, 312 U.S. at 588.
Accordingly, the court dismisses plaintiff’s claims against all named defendants other than the
United States for lack of jurisdiction.


confer jurisdiction only on federal district courts. See 28 U.S.C. §§ 1331 (“The district courts
shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties
of the United States.”), 1332(a)(1) (“The district courts shall have original jurisdiction of all civil
actions where the matter in controversy exceeds the sum or value of $75,000, exclusive of
interest and costs, and is between . . . citizens of different States[.]”). The Court of Federal
Claims is not a district court. Ledford v. United States, 297 F.3d 1378, 1382 (Fed. Cir. 2002)
(per curiam). Accordingly, it lacks jurisdiction to entertain claims under these statutes. Accord
Allbritton v. United States, 178 F.3d 1307, 1307 (Fed. Cir. 1998) (unpublished table decision)
(noting that 28 U.S.C. §§ 1331 and 1332 “confer jurisdiction on district courts over certain
claims but do not address the jurisdiction of the Court of Federal Claims”).

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   C. The Court Lacks Jurisdiction to Entertain Plaintiff’s Claim for Breach of the Plea
                                       Agreement

        The crux of plaintiff’s complaint is that the United States breached the plea agreement by
subjecting him to a term of home detention following his term of imprisonment and by failing to
return his property. Binding precedent confirms “that federal and state prosecutors are
authorized to enter into plea agreements . . . with criminal defendants and that such agreements
are specifically enforceable.” Sanders v. United States, 252 F.3d 1329, 1334 (Fed. Cir. 2001).
Furthermore, in general, “when a breach of contract claim is brought in the Court of Federal
Claims under the Tucker Act, the plaintiff comes armed with the presumption that money
damages are available, so that normally no further inquiry is required.” Holmes v. United States,
657 F.3d 1303, 1314 (Fed. Cir. 2011). However, “a different rule obtains where the agreement is
entirely concerned with the conduct of the parties in a criminal case.” Sanders, 252 F.3d at 1334;
accord Kania v. United States, 650 F.2d 264, 268-69 (Ct. Cl. 1981).

         It is well settled that “the role of the judiciary in the high function of enforcing and
policing the criminal law is assigned to the courts of general jurisdiction and not to” the Court of
Federal Claims. Kania, 650 F.2d at 268; accord Joshua v. United States, 17 F.3d 378, 379-80
(Fed. Cir. 1994) (affirming the holding of the Court of Federal Claims that it had “no jurisdiction
to adjudicate any claims whatsoever under the federal criminal code”). Accordingly, although it
is possible that a plea agreement could be “a binding contract subject to Tucker Act jurisdiction,”
such a plea agreement would need to include “specific authority” for the United States Attorney
“to make an agreement obligating the United States to pay money” and terms “spelling out how
in such a case the liability of the United States is to be determined.” Kania, 650 F.2d at 268. “In
other words, a claim for money damages for the alleged breach of such an agreement may not be
maintained unless that agreement clearly and unmistakably subjects the government to monetary
liability for any breach.” Sanders, 252 F.3d at 1335; accord Higbie v. United States, 778 F.3d
990, 993 (Fed. Cir. 2015); see also Sanders, 252 F.3d at 1336 (“[T]he Supreme Court has made
clear that claims for breach of plea agreements and other agreements unique to the criminal
justice system should be brought in the courts in which they were negotiated and executed.”
(citing Santobello v. New York, 404 U.S. 257, 263 (1971))).

        The plea agreement attached to plaintiff’s complaint does not “clearly and unmistakably”
subject the United States to monetary liability for its breach. Indeed, it lacks any language
obligating the United States to pay money damages to plaintiff in the event that the United States
breached its terms. Consequently, this court lacks jurisdiction over plaintiff’s claim that the
United States breached the agreement.

 D. The Court Lacks Jurisdiction to Entertain Plaintiff’s Claim for Breach of an Implied
                                       Contract

        Plaintiff also contends that the United States breached an implied contract with him to
uphold the Constitution, as well as one or more implied contracts with him arising from the oath
of office and the employment and contractual relationships between the United States and the
other named defendants.



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        There is no question that the Court of Federal Claims possesses jurisdiction over claims
for the breach of an implied contract with the United States. 28 U.S.C. § 1491(a)(1). However,
the court’s “jurisdiction extends only to contracts either express or implied in fact, and not to
claims on contracts implied in law.” Hercules Inc. v. United States, 516 U.S. 417, 423 (1996).
The two types of implied contracts differ significantly. City of Cincinnati v. United States, 153
F.3d 1375, 1377 (Fed. Cir. 1998).

       An agreement implied in fact is “founded upon a meeting of minds, which,
       although not embodied in an express contract, is inferred, as a fact, from conduct
       of the parties showing, in the light of the surrounding circumstances, their tacit
       understanding.” By contrast, an agreement implied in law is a “fiction of law”
       where “a promise is imputed to perform a legal duty, as to repay money obtained
       by fraud or duress.”

Hercules Inc., 516 U.S. at 424 (citations omitted) (quoting Balt. & Ohio R.R. Co. v. United
States, 261 U.S. 592, 597 (1923)). The Constitution is not a contract. Taylor v. United States,
113 Fed. Cl. 171, 173 (2013). But even if the Constitution could be considered an implied
contract between plaintiff and the United States, it would be a contract implied in law. See, e.g.,
Drake v. United States, 792 F. App’x 916, 920-21 (Fed. Cir. 2019) (unpublished decision)
(holding, in response to the plaintiff’s argument that certain alleged constitutional violations
were breaches of an implied contract arising from the Constitution, that “even if there were a
legal basis for [the plaintiff’s] reliance on the U.S. Constitution as an implied contract,” the
Court of Federal Claims lacks jurisdiction to consider claims for breach of implied-in-law
contracts). Accordingly, the court lacks jurisdiction to entertain this claim.

        Furthermore, for a plaintiff to maintain a claim for breach of contract––whether express
or implied––under the Tucker Act, “there must be privity of contract between the plaintiff and
the United States.” Cienega Gardens v. United States, 194 F.3d 1231, 1239 (Fed. Cir. 1998);
accord First Annapolis Bancorp, Inc. v. United States, 644 F.3d 1367, 1373 (Fed. Cir. 2011) (“A
plaintiff must be in privity with the United States to have standing to sue the sovereign on a
contract claim.”). Plaintiff cannot plausibly maintain that he is a party to the oaths of office
taken by the named individual defendants or to the employment agreements and contracts
between the United States and the other named defendants. Nor does plaintiff contend that he
falls within one of the recognized exceptions to the privity requirement. See First Hartford Corp.
Pension Plan & Trust v. United States, 194 F.3d 1279, 1289 (Fed. Cir. 1999) (indicating that
exceptions to the privity requirement include suits by intended third-party beneficiaries, suits by
subcontractors “by means of a pass-through suit when the prime contractor is liable to the
subcontractor for the subcontractor’s damages,” and suits by government contract sureties “for
funds improperly disbursed to a prime contractor.”). The court therefore lacks jurisdiction over
plaintiff’s claims arising under these oaths and agreements.

   E. The Court Lacks Jurisdiction Over any Constitutional or Tort Claims Asserted by
                                       Plaintiff

        In asserting that the United States is liable for breach of contract, plaintiff contends that
the breaches resulted in his false imprisonment and the negligent and intentional infliction of

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emotional distress, and deprived him of his rights under the Fourth, Fifth, Eighth, Thirteenth, and
Fourteenth Amendments. To the extent that these allegations are asserted as independent claims
for relief, the court lacks jurisdiction to entertain them.

        First, claims for false imprisonment and the infliction of emotional distress sound in tort,
Quillin v. United States, 228 Ct. Cl. 727, 727 (1981) (false imprisonment); Curry v. United
States, 609 F.2d 980, 983 (Ct. Cl. 1979) (emotional distress), and the court lacks jurisdiction
over tort claims, 28 U.S.C. § 1491(a)(1). Second, with the exception of the Just Compensation
Clause of the Fifth Amendment, the constitutional amendments invoked by plaintiff do not
mandate the payment of money damages for their violation and therefore cannot provide the
basis for suit in this court. See, e.g., Trafny v. United States, 503 F.3d 1339, 1340 (Fed. Cir.
2007) (per curiam) (“The Court of Federal Claims does not have jurisdiction over claims arising
under the Eighth Amendment, as the Eighth Amendment ‘is not a money-mandating
provision.’”); Brown, 105 F.3d at 623 (“[T]he Fourth Amendment does not mandate the payment
of money for its violation. Because monetary damages are not available for a Fourth
Amendment violation, the Court of Federal Claims does not have jurisdiction over a such a
violation.” (citation omitted)); LeBlanc v. United States, 50 F.3d 1025, 1028 (Fed. Cir. 1995)
(“[T]he Due Process Clauses of the Fifth and Fourteenth Amendments [and] the Equal Protection
Clause of the Fourteenth Amendment . . . [are not] a sufficient basis for jurisdiction because they
do not mandate payment of money by the government.”); Carter v. United States, 228 Ct. Cl.
898, 900 (1981) (rejecting a liberty claim premised on the Thirteenth Amendment for lack of
jurisdiction because the Thirteenth Amendment “do[es] not grant a right to the payment of
money for [its] violation”). Third, although the Just Compensation Clause is a money-mandating
provision, the court lacks jurisdiction to entertain claims under that clause when they arise from
the government’s seizure of property in conjunction with a criminal matter. See Acadia Tech.,
Inc. v. United States, 458 F.3d 1327, 1331 (Fed. Cir. 2006) (“When property has been seized
pursuant to the criminal laws . . . , such deprivations are not ‘takings’ for which the owner is
entitled to compensation. The same rule applies even if the property is seized as evidence in a
criminal investigation or as the suspected instrumentality of a crime, but is ultimately returned to
the owner . . . .” (citations omitted)).

        In short, none of the claims asserted by plaintiff in his complaint, when the complaint is
read in the light most favorable to plaintiff, is within the court’s jurisdiction to adjudicate on its
merits.

         F. The Court Lacks Jurisdiction to Award the Requested Equitable Relief

        Even if the court possessed jurisdiction to entertain any of plaintiff’s claims, it lacks
jurisdiction to award the equitable relief plaintiff requests in his complaint. As a general matter,
the court lacks jurisdiction to entertain claims––for injunctive relief or otherwise––under the
Administrative Procedure Act. See Crocker v. United States, 125 F.3d 1475, 1476 (Fed. Cir.
1997) (noting that the Court of Federal Claims “lacks the general federal question jurisdiction of
the district courts, which would allow it to review the agency’s actions and grant relief pursuant
to the Administrative Procedure Act”). Furthermore, the court is generally without jurisdiction




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to award declaratory and injunctive relief. 3 See Bowen v. Massachusetts, 487 U.S. 879, 905
& n.40 (1988); Gonzales & Gonzales Bonds & Ins. Agency, Inc. v. Dep’t of Homeland Sec., 490
F.3d 940, 943 (Fed. Cir. 2007); Kanemoto v. Reno, 41 F.3d 641, 644-45 (Fed. Cir. 1994).

        III. PLAINTIFF’S APPLICATION TO PROCEED IN FORMA PAUPERIS

        Finally, as noted above, plaintiff filed, concurrent with his complaint, an application to
proceed in forma pauperis. Pursuant to 28 U.S.C. § 1915, the Court of Federal Claims may
waive filing fees and security under certain circumstances. See 28 U.S.C. § 1915(a)(1); see also
Hayes v. United States, 71 Fed. Cl. 366, 366-67 (2006) (concluding that 28 U.S.C. § 1915(a)(1)
applies to both prisoners and nonprisoners alike). Plaintiffs wishing to proceed in forma
pauperis must submit an affidavit that lists all of their assets, declares that they are unable to pay
the fees or give the security, and states the nature of the action and their belief that they are
entitled to redress. 28 U.S.C. § 1915(a)(1). Here, plaintiff has substantially satisfied all three
requirements. Accordingly, the court grants plaintiff’s application and waives his filing fee.

                                        IV. CONCLUSION

        The court has reviewed plaintiff’s complaint and determined that plaintiff has not
asserted any claims over which the Court of Federal Claims possesses jurisdiction. It therefore
GRANTS plaintiff’s application to proceed in forma pauperis but DISMISSES plaintiff’s
complaint for lack of jurisdiction. The clerk shall enter judgment accordingly.

       IT IS SO ORDERED.



                                                       MARGARET M. SWEENEY
                                                       Senior Judge




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           The limited exceptions to this rule are not relevant here. See 28 U.S.C. § 1491(a)(2)
(providing the court with jurisdiction to issue, “as incident of and collateral to” an award of
money damages, “orders directing restoration to office or position, placement in appropriate duty
or retirement status, and correction of applicable records”); id. (providing the court with
jurisdiction to render judgment in nonmonetary disputes arising under the Contract Disputes Act
of 1978); id. § 1491(b)(2) (providing the court with jurisdiction to award declaratory and
injunctive relief in bid protests); id. § 1507 (providing the court with jurisdiction to issue
declaratory judgments under 26 U.S.C. § 7428).

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